Case 1:17-cr-00101-LEK Document 423 Filed 01/31/19 Page 1 of 1           PageID #: 3731



                                     MINUTES



 CASE NUMBER:            1:17-CR-00101-LEK-1
 CASE NAME:              United States of America v (01) Anthony T. Williams
 ATTYS FOR PLA:          Gregg Paris Yates
                         Ronald G. Johnson
 ATTYS FOR DEFT:         Lars R. Isaacson, Standby Counsel
 U.S. Deputy Marshal: Tony Hopkins


      JUDGE:       Kenneth J. Mansfield         REPORTER:       C6 - FTR

      DATE:        01/31/2019                   TIME:           10:07 - 10:17


COURT ACTION: EP:          [398] DEFENDANT’S MOTION FOR RETURN OF
                           PROPERTY/PRETRIAL hearing held.

Defendant is in custody but not present.

Government informs the Court that the Defendant declined to be transported to Court for
this proceedings.

U.S. Deputy Marshal Tony Hopkins states on the record why Mr. Williams refused to be
transported to today’s proceedings.

Court conducted a colloquy with the Government on items Defendant pointed out in his
motion.

Government makes a record of Defendant’s ongoing conduct on declining transport to
Court for proceedings, posing a difficulty in moving the case along.

[398] Defendant’s Motion for Return of Property/Pretrial is taken under advisement.
Court to issue an Order.



Submitted by: Bernie Aurio, Courtroom Manager
